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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1374V
                                   Filed: December 16, 2016
                                          Unpublished

****************************
SANDRA PHILLIPS,                       *
                                       *
                    Petitioner,        *      Joint Stipulation on Damages;
v.                                     *      Influenza (“Flu”) Vaccine; Guillain-Barré
                                       *      Syndrome (“GBS”); Special Processing
SECRETARY OF HEALTH                    *      Unit (“SPU”)
AND HUMAN SERVICES,                    *
                                       *
                    Respondent.        *
                                       *
****************************
Lawrence R. Cohan, Anapol Weiss, Philadelphia, PA, for petitioner.
Voris E. Johnson, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

        On November 13, 2015, Sandra Phillips (“petitioner”), filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner alleges that she suffered Guillain-
Barré Syndrome (“GBS”) as a result of receiving the influenza (“flu”) vaccine on October
4, 2013. Pet. at 1; Stip., filed Dec. 16, 2016, at ¶¶ 1, 2, 4. Petitioner further states that
the vaccine was administered in the United States, that she experienced the residual
effects of her injury for more than six months, and that there has been no prior award or
settlement of a civil action for damages as a result of her condition. Pet. at ¶¶ 3, 20, 24;
Stip. at ¶¶ 3-5. Respondent denies that the influenza vaccine caused petitioner’s
alleged injury and residual effects, or any other injury. Stip. at ¶ 6.

       Nevertheless, on December 16, 2016, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. The

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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undersigned finds the stipulation reasonable and adopts it as the decision of the Court
in awarding damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        A lump sum of $195,000.00 in the form of a check payable to petitioner,
        Sandra Phillips. Stip. at ¶ 8. This amount represents compensation for all
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS
__________________________________________
                                           )
SANDRA PHILLIPS,                           )
                                           )
                  Petitioner,              )
                                           )  No. 15-1374V (ECF)
v.                                         )  Chief Special Master Dorsey
                                           )
SECRETARY OF HEALTH                        )
AND HUMAN SERVICES,                        )
                                           )
                  Respondent.              )
__________________________________________)

                                          STIPULATION

       The parties hereby stipulate to the following matters:

       1.       Sandra Phillips (“petitioner”) filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the “Vaccine

Program”). The petition seeks compensation for injuries sustained following petitioner’s receipt

of an influenza vaccine, which vaccine is contained in the Vaccine Injury Table (the “Table”), 42

C.F.R. §100.3(a).

       2.       Petitioner received an influenza vaccine on October 4, 2013.

       3.       The vaccine was administered within the United States.

       4.       Petitioner alleges that she subsequently suffered the injury Guillain-Barré

Syndrome (“GBS”), which petitioner alleges was caused-in-fact by her receipt of the influenza

vaccine. Petitioner further alleges that she experienced the residual effects of her injury for more

than six months.

       5.       Petitioner represents that there has been no prior award or settlement of a civil

action for damages as a result of her condition.
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       6.       Respondent denies that the influenza vaccine caused petitioner’s alleged injury

and residual effects, or any other injury.

       7.       Maintaining their above-stated positions, the parties nevertheless now agree that

the issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8.       As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

                A lump sum of $195,000.00 in the form of a check payable to petitioner.
                This amount represents compensation for all damages that would be
                available under 42 U.S.C. § 300aa-15(a).

       9.       As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(1), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys’ fees and costs incurred in proceeding

upon this petition.

       10.      Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act, 42 U.S.C. § 1396

et seq.), or by entities that provide health services on a pre-paid basis.

       11.      Payment made pursuant to paragraph 8 and any amounts awarded pursuant to


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paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12.     The parties and their attorneys further agree and stipulate that, except for the

award for attorneys’ fees and litigation costs, the money provided pursuant to this Stipulation

will be used solely for the benefit of petitioner, as contemplated by a strict construction of 42

U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13.     In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the Secretary of

Health and Human Services and the United States of America from any and all actions or causes

of action (including agreements, judgments, claims, damages, loss of services, expenses and all

demands of whatever kind or nature) that have been brought, could have been brought, or could

be timely brought in the Court of Federal Claims, under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out

of, any and all known or unknown, suspected or unsuspected personal injuries to, or death of,

petitioner resulting from, or alleged to have resulted from, the influenza vaccine administered on

October 4, 2013, as alleged by petitioner in a petition for vaccine compensation filed on or about

November 13, 2015, in the United States Court of Federal Claims as petition No. 15-1374V.

        14.     If petitioner should die prior to entry of judgment, this agreement shall be

voidable upon proper notice to the Court on behalf of either or both of the parties.

        15.     If the special master fails to issue a decision in complete conformity with the

terms of this Stipulation, or if the Court of Federal Claims fails to enter judgment in conformity

with a decision that is in complete conformity with the terms of this Stipulation, then the parties’


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settlement and this Stipulation shall be voidable at the sole discretion of either party.

       16.     This Stipulation expresses a full and complete negotiated settlement of liability

and damages claimed under the National Vaccine Injury Act of 1986, as amended, except as

otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties’ respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       17.     This Stipulation shall not be construed as an admission by the United States of

America or the Secretary of Health and Human Services that petitioner’s alleged GBS and

residual effects, or any other injury, were caused-in-fact by the influenza vaccine.

       18.     All rights and obligations of petitioner hereunder shall apply equally to

petitioner’s heirs, successors and/or assigns.

                                     END OF STIPULATION

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